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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLOR_IDA
JACKSONVILLE DIVISION

UNITED STA'I`ES OF AMERlCA

V- Case No. 319-cnw

ct 1: 13 U.s.c. §§ 1512(1))(3) and 2
JOHN R. NETTLETON ct 2; 13 U_s.c. §§ 1512(¢)(2) and 2
cr. 3; 13 U.s.c. §§ 1001(&)(1)311¢1 2

crs. 4-5; 13 U.s.c. §§ 1519 and 2
cis. 6-10; 13 U.s.c. § 1001(3)(2)

lNDICTl\'[ENT
The Grand Jury charges:
Unless Otherwise indicated, at all times material to this lndictment:
BACKGROUND

l. The defendant, JOI-IN R. NETTLETON (“NETTLETON”) is a Captain
in the United States Navy (“Navy”), a department of the Umted States government
ln or about June 2012, he Was named the Commanding Ofl`lcer (“Commaricier”) of
Naval Station Guantanamo Bay (“GTMO”) at Guantanamo Bay, Cuba.

2. GTMO, located in the Southeast corner Of Cuha, is a U.S. military
installation that serves the Navy. Several thousand U.S. military members, civilian
personnel, and their families reside at GTMO.

3. GTMO is part of the Navy Region Southeast (“NRSE”), Which is based
at Naval Air Station Jacksonville, located in Jacksonville, Florida. As the

Commander of GTMO, NETTLETON reported to the Commander of the Navy

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Region Southeast (“CNRSE”) and the members of his or her command staff. ln
January 2015, the CNRSE Was Rear Admiral M.J. and her Chief of Staff Was Captain
C.G.

4. In or about approximately May 2011, Christopher M. Tur (“Tur”) and
his family, Which consisted of his Wife (“Tur’s Spouse”) and two children, moved to
GTMO, Where Tur had obtained a position as a civilian employee of the Navy. By
approximately January 2015, Tur Was employed as the Loss Prevention Safety
Manager at the Navy Exchange, a general store serving the GTMO community U.S.
Coast Guard personnel found Tur dead in the Waters of Guantanamo Bay on January
l l, 2015.

NETTLETON’$ Obligations as Commander of GTMO

5. As the Commander of GTMO, NETTLETON Was required by laws,
Navy regulations, and orders from his Superior officers to ensure the Safety and Well-
being of persons under his command at GTMO, such as Tur, including but not limited
to the following:

a. Pursuant to 10 U.S.C. § 5947, NETTLETON Was required to
show in himself “a good example of virtue, honor, patriotism, and
subordination; to be vigilant in inspecting the conduct of all persons Who are
placed under [his] command; to guard against and suppress all dissolute and
immoral practices, and to correct, according to the laws and regulations of the
Navy, all persons Who are guilty of them; and to take all necessary and proper

measures, under the laws, regulations, and customs of naval service, to promote

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and safeguard the morale, the physical Well-being, and the general welfare of
the officers and enlisted persons under [his] command or charge.”

b. Pursuant to U.S. Navy Regulation Ch. 8, § l, art. 0802 (also
codified at 32 C.F.R. § 700.802), “ [t] he responsibility of the commanding officer

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for his or her command is absolute, [t]he authority of the commanding officer
is commensurate With his or her responsibility,” and the commanding officer
has a “continued responsibility for the safety, Well»being, and efficiency of the
entire command.” Additionally, “[t]he commanding officer . . . shall exercise
leadership through personal example, moral responsibility, and judicious
attention to the welfare of persons under their control or supervision.”

c. Pursuant to U.S. Navy Regulation Ch. 8, § l, art. 0820, the
commanding officer must “rnaintain a satisfactory state of health and physical
fitness of the personnel under his . . . command.”

d. Pursuant to U.S. Navy Regulation Ch. 8, § l, art. 0826 (also
codified at 32 C.F.R. § 700.826), “[t]he commanding officer shall take
appropriate action to safeguard personnel.”

e. Pursuant to instructions from the Chief of Naval Operations,
OPNAVINST 5530.14E (also referred to as the Physical Security and LaW
Enforcement Program), Chapter 3, § 030()(a), NETTLETON Was responsible
for maintaining the “good order and discipline of [his] command.”

6. As the Commander of GTMO, NETTLETON Was required by laws,

Navy regulations, and orders from his superior officers to provide his superior officers

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and the Navy with complete information in his possession about events at GTMO,

such as when a civilian or contractor was missing, severely injured, or had died,
including but not limited to the following:

a. Pursuant to CNRSE Notice 5214, which was issued on or about

May 2, 2013 to provide commanders of Navy installations in the NRSE with

guidance on when and how to report information to the CNRSE in the form of

Commander’s Critical lnformation Requirements (“CCIR”) reports,

NETTLETON was required to provide CCIR reports that were “both timely

and as complete as possible, answering questions such as Who, what, When,

where and why,” as well as “[f] ollow~on reports providing additional or

corrected information,” for a variety of incidents such as the “UNEXPECTED

death or critical injury of any . . . [Department of Defense] civilian, or contractor

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assigned to a CNRSE installation, [a]ny request for assistance in search and
rescue operations where personnel and/ or resources within the CNRSE [Area
of Responsibility] would potentially be involved,” and “ [a] ny report of a missing
. . . [Department of Defense] civilian, or contractor assigned to a CNRSE
installation.”

b. Pursuant to the Office of the Chief of Naval Operations
(“OPNAV”) Instruction 3100.61-1, which was issued on or about February 3,
2006 to provide procedures for commanding officers to report certain incidents

at Navy installations to the Chief of Naval Operations (“CNO”) and other Navy

commanders using “Navy Blue” messages, NETTLETON was required to

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ensure an accurate Navy Blue message was prepared and sent for major
incidents involving personnel at GTMO, such as the “[d]eath or serious
personal injury of a civilian.”

c. Pursuant to U.S. Navy Regulation Ch. 8, § l, art. 0815 (also
codified at 32 C.F.R. § 700.815), NETTLETON was required “in the event of
the death of any person within his or her command” to “ensure that the cause
of death and the circumstances under which death occurred are established, that
the provisions of the Manual of the Judge Advocate General are adhered to in
documenting the cause and circumstances, and that the appropriate casualty

report is submitted.”

Applicable Provisions of the Uniform Code of Militgy Justice
7. The Uniform Code of Military .lustice (“UCMJ”) is created by federal
law and defines the military justice system and criminal offenses under military law.
8. A court martial is a judicial proceeding convened by an authorized officer
of the Navy to determine the guilt or innocence of an officer or enlisted person of a
particular offense prohibited by the UCMJ. A finding of guilt after a court martial
may result in a variety of punishments from the less serious, such as reprimand, to the
more serious, such as a dishonorable discharge or a sentence of imprisonment
9. Article 107 of the UCMJ makes an offense subject to court martial the

signing of “any false record, return, regulation, order, or other official document,

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knowing it to be false, or [making] any other false official statement knowing it to be
false,” with the intent to deceive.

10. Article 128 of the UCMJ prohibits assault, which is defined as an
“attempt[] or offer[] with unlawful force or violence to do bodily harm to another
person, whether or not the attempt or offer is consummated.” Assault is punishable
by a court martial.

11. Article 133 of the UCMJ provides that any “commissioned officer . . .
who is convicted of conduct unbecoming an officer and a gentleman shall be punished
as a court-martial may direct.” Both adultery and drunkenness may constitute
“conduct unbecoming an officer and a gentleman,”

12. Article 134 of the UCMJ makes subject to court martial “all disorders
and neglects to the prejudice of good order and discipline in the armed forces, all
conduct of a nature to bring discredit upon the armed forces, and crimes and offenses
not capital, of which persons subject to this chapter may be guilty.”

Relevant Naval lnvestigative Bodies and Procedures

13. The Naval Criminal lnvestigative Service (“NClS”) is a federal law
enforcement agency within the Navy with authority and responsibilities that include
the initiation, conduct, and direction of criminal investigations NCIS performs its
duties under the authority of the Secretary of the Navy. NCIS investigates possible
violations of federal law and of the UCMJ. NCIS investigations may result in a federal

grand jury proceeding or a court martial.

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14. The GTMO Security Department is a Navy component under the
authority of the commanding officer of GTMO that is tasked With ensuring various
aspects of security on GTMO. The Security Department has departments focused on
specific areas, such as harbor safety, base patrol, and the Criminal lnvestigative
Division (“CID”). CID consists of investigators that investigate potential violations
of laws, rules, and regulations at GTMO.

15. T he Navy also investigates potential criminal and administrative
wrongdoing by its officers and others through a “command investigation.” A
command investigation is conducted by another Navy officer assigned by the
commanding officer of the subject of the investigation A command investigation is
conducted according to the rules and procedures of the Manual of the Judge Advocate
General. The potential consequences of a command investigation range from non-
punitive and non-judicial actions to court martial. lt was within Admiral M.J.’s
authority to order a command investigation of incidents that occurred at GTMO and
the conduct and activities of the personnel there, including NETTLETON.

FACTUAL ALLEGATIONS
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16. On or about January 9, 2015, starting at approximately 6:30 p.m., there
was a “Hail and Farewell” party at the “I-Ianger Bar” in the basement of the GTMO
Officer’s Club, which is also known as the “Bayview.” The purpose of the party was
to greet the new incoming GTMO Executive Of`ficer (“XO”), A.R., and to say

goodbye to the outgoing XO.

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17. NETTLETON, Tur, and Tur’s Spouse were present at the party, and
each consumed several alcoholic drinks During the party, NETTLETON and Tur’s
Spouse spent time near one another in view of other party guests, including Tur.

18. At approximately 10:00 p.m., outside of the Bayview, Tur yelled at
NETTLETON and Tur’s Spouse, accusing them of having an extramarital affair XO
A.R. encouraged NETTLETON to leave, and NETTLETON walked away in the
direction of his residence, which was located nearby on the same road as the Bayview.

19. After NETTLETON arrived at his residence, he encountered his
daughter, J.N., who was the only other family member staying at the family home on
the night of January 9, 2015. J.N. went upstairs and NETTLETON remained
downstairs

20. Betweeri approximately 10:30 p.m. and 10:45 p.m., K.W., a civilian
resident of GTMO, spoke with Tur on the telephone. Tur stated words to the effect
that he Was “at the Skipper’s house” and that he had “just knocked the Skipper out.”
K.W. also heard NETTLETON stating words to the effect that Tur had “just knocked
him out.” Tur terminated the call.

21. At approximately 10:46 p.m., J.N., who was still upstairs in
NETTLETON’$ residence, sent an electronic message to a friend, K..,l\/I which stated:

Oh my fucking god my dogs won’t stop barking because

there’s ducking [sic] people outside l’m literally about to
tear my hair out.

22. Shortly thereafter, J.N. heard sounds coming from downstairs at

NETTLETON’S residence, went downstairs, and observed her father lying on the

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ground on the first floor of the home. She also observed an adult male, who she
eventually realized was Tur, standing near NETTLETON and attempting to use a cell
phone. J.N.' did not observe any blood, and she returned to her room without being
seen.

23. At approximately 10:55 p.m., J.N. sent an electronic message to K.M.
which stated:

1 just went downstairs to get the dog to stop barking and like
literally what l see is this dude standing there on his phone
and my dad is lying on the ground l think and like l’m so
confused and terrified and he like literally didn’t even notice
me and 'i just ran back upstairs and like [the dog] won’t stop
barking at him and l’ve got no idea what’s going on.

24. At approximately 10:56 p.m., J.N. sent an electronic message to another
friend, T.l-l., stating:

Um well my dad’s really drunk and some other dude is here
and they’re like getting into a fight downstairs and l’m
hiding

25. At approximately 10:57 p.m., J.N. again sent an electronic message to

K.M. stating:

So um now l can hear them fighting really loudly omh l’ve
locked myself into my room.

26. At approximately 11:22 p-m., J.N. sent an electronic message to K.M.
stating:

so um l like texted my brother and told him what was
happening bc l could still here [sic] them fighting and [the
dog] was barking at them and I didn’t know what to do and
he tried calling dad like six times and he didn’t answer, but
I could hear dad answer the phone downstairs and things
have been quiet Since then.

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27. From approximately 11127 p.m. to 11:28 p.m., J.N. had a further

electronic message exchange with T.i-l. as follows:

J.N. to T.H.: Like they’ve been fighting for a while and like
l was scared so l texted [my brother] and he
tried calling dad and they must have stopped
because it’s quiet again.

T.H. to Ll.l\l.:Were they just yelling?

J'.N. to T.H.:No, 1 could hear them like actually fighting
each other.

J.N. to T.H.:And I walked downstairs because l didn’t
know they were there and this dude was
standing over my dad who was like laying on
the kitchen floor. And like l ran upstairs and
after that I could hear them fighting

28. After J.N. stopped hearing sounds of fighting from downstairs,
NETTLETON entered the upstairs room Where she was located. I-le was not wearing
a shirt, and J.N. did not observe any injuries NETTLETON spoke briefly with J.N.
and then J.N. went to bed.

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29. Starting early in the morning on or about Saturday, January 10, 2015 ,
K.W. and R.B., a member of the Navy that resided at GTMO, began looking for Tur,
who had not returned home by then. They went to NETTLETON’s residence and
spoke to NETTLETON. When asked if he was aware of Tur’s whereabouts
NETTLETON stated that he was not. After being informed that Tur had called K.W,
on Friday night and said he was at NETTLETON’s residence, NETTLETON said

that Tur had come to his residence and had spoken with him, but that NETTLETON

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told Tur to leave and Tur did. NETTLETON did not state that there was a physical
altercation between himself and Tur or that Tur had been injured R-B. asked for
permission to look in NETTLETON’s back yard, which NETTLETON refused to
grant K.W. and R.B. left to continue their search for Tur.

30. At approximately 2:30 p.m. on or about January 10, 2015, after having
further discussions with K.W., R.B., and Tur’s Spouse about how Tur was still
missing, NETTLETON spoke with A.T., the Command Duty Officer (“CDO”) for
GTMO at the time, and instructed him to have the GTMO Security Department begin
searching for Tur. NETTLETON misled CDO A.T. by concealing from him that on
or about January 9, 2015, Tur had accused NETTLETON outside of the Bayview of
having an extramarital affair with Tur’s Spouse, that Tur had later come to
NETTLETON’s residence after the party, that Tur and NETTLETON had engaged
in a physical altercation that left Tur injured, and that NETTLETON knew the last
place Tur had been seen by anyone was NETTLETON’s residence, not the Bayview.
Instead, when asked by CDO A.T. where to search, NETTLETON said the last place
Tur had been located was the Bayview.

31. Based on NETTLETON’$ order and the information NETTLETON
provided, CDO A.T. took steps to arrange for the GTMO Security Department and
other GTMO personnel to begin searching for Tur. As a result of NETTLETON’s
concealment of all relevant facts from CDO A.T., the search for Tur started at the
Bayview and was focused on areas north, south, and east of it, but not West towards

NETTLETON’s residence, where Tur had actually last been seen by NETTLETON.

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CDO A.T. also alerted the NRSE in Llacksonville, Florida of the missing person and
the search that had been commenced

32. As a result of the commencement of the search for Tur, CID opened a
missing person investigation based on the disappearance of Tur. However, without
information about Tur’s accusations at the Bayview on Friday night or his appearance
at NETTLETON’s residence and the physical altercation there, CID investigators did
not question NETTLETON or take other steps to focus their missing person
investigation on Tur’s presence at NETTLETON’s residence and NETTLETON’s
knowledge of the circumstances surrounding Tur’s disappearance

33. On or about January 10, 2015, NETTLETON spoke with Captain C.G.
NETTLETON explained that a civilian living and working at GTMO had gone
missing that morning, and that a search was underway for him. NETTLETON misled
Captain C.G. by concealing from him that Tur had gone missing on or about January
9, 2015 after attending a command event earlier in the evening, the Hail and Farewell
party at the Bayview for the incoming and outgoing XOs, at which NETTLETON had
been present NETTLETON further misled Captain C.G. by concealing from him
that on or about January 9, 2015, Tur had accused NETTLETON outside of the
Bayview of having an extramarital affair with Tur’s Spouse, that Tur had later come
to NETTLETON’s residence after the party, that Tur and NETTLETON had engaged
in a physical altercation that left Tur injured, and that NETTLETON knew the last

place Tur had been seen by anyone was NETTLETON’s residence

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34. At approximately 5:00 p.m. on or about J'anuary 10, 2015, the GTMO
Security Department informed NCIS officers at GTMO of the disappearance of Tur.
NCIS opened a missing person investigation I-Iowever, without information about
Tur’s accusations at the Bayview on Friday night or his appearance at NETTLETON’s
residence and the physical altercation there, NCIS investigators did not question
NETTLETON at that time, or take other steps to focus their missing person
investigation on Tur’s presence at NETTLETON’s residence and NETTLETON’s
knowledge of the circumstances surrounding Tur’s disappearance

35. At approximately 5:00 p.m. on or about January _ 10, 2015,
NETTLETON spoke with XO A.R. and instructed him to have the entire Command
Duty Office, a larger group of GTMO personnel than what is available in the GTMO
Security Department, enlisted in the search for Tur. However, NETTLETON misled
XO A.R. by concealing from him that Tur came to NETTLETON’s residence after
the Hail and Farewell party ended and they engaged in a physical altercation inside
the residence that left Tur injured.

36. After it began getting dark on or about .lanuary 10, 2015, NETTLETON
again spoke with XO A.R., and they decided that the land search for Tur should be
stopped for the evening, due to potentially dangerous conditions for personnel
searching in the dark.

37. At approximately 6:00 p.m. on or about January 10, 2015,
NETTLETON spoke with Captain C.G. and informed him that the search was being

stopped for the evening but would resume in the morning NETTLETON misled

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Captain C.G. by continuing to conceal from him that T ur had gone missing on or
about January 9, 2015 after attending a command event earlier in the evening, the Hail
and Farewell party at the Bayview for the incoming and outgoing XOs, at which
NETTLETON had been present NETTLETON also misled Captain C.G. by
continuing to conceal from him that on or about January 9, 2015 , Tur had accused
NETTLETON outside of the Bayview of having an extramarital affair with Tur’s
Spouse, that Tur had later come to NETTLETON’s residence after the party, that Tur
and NETTLETON had engaged in a physical altercation that left Tur irijured, and that
NETTLETON knew the last place Tur had been seen by anyone was NETTLETON’$
residence
38. At approximately 7:55 p.m. on or about January 10, 2015,

NETTLETON sent an email to Admiral M.J., copying Captain C.G. and other Navy
officials, to inform Adrniral l\/I.J. of the situation with Tur. NETTLETON wrote:

Admiral ' We are searching for an NEX employee, [Tur],

he was last seen at the O’Club around 0100, and may have

walked to the Marine Hill mini mart (based on charge card

info) some time after that. We have Security, Marines and

dogs searching Windward. Security and Coast Guard are

conducting searches of the Bay. This is the spouse of our

[Fleet and F amin Support Center’s] director, [Tur’s

Spouse]. Alcohol is a factor and this has happened before,

never for this long though. We are preparing for the worst

and hoping for the best, Chaplains ready if needed. We will

expand the search parties tomorrow morning with help

from the tenants [Operational Reports] going out shortly.
Nothing needed at this time, V/r JR

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39. At approximately 10:01 p.m. on or about January 10, 2015, Admiral

M.J. responded, writing:

Can you give me some understanding of extent of search
conducted, and whether there could be places that he might
be “sleeping” this off . . . . friend, other. NCIS involved? Is
[Tur’s Spouse] frantic? And, was there a domestic
arguement [sic] involved. Any thoughts that he would be
suicidal.

40. At approximately 10:45 p.m. on or about January 10, 2015,

NETTLETON replied:

Search - As much as we could get to in the hills before night
fall - still searching some with flashlights, [night vision
goggles], told them to take it easy during the night search -
harbor using [forward-looking infrared] and/ or [night
vision goggles] looking along the coastline We went door
to door in the [bachelors officers quarters] and his
neighborhood Yes trying to find the places to sleep it off,
we are also checking new and demo housing and
warehouses

[Tur’s Spouse] is calm, she is waiting, had to call one of her
daughters in college in Pennsylvania, other is here with her.
NCIS is involved Yes to domestic argument and yes to
suicidal, 1 say that only because he is on several meds and
was drinking heavily. [Tur’s Spouse] said he got physical
with her at the bayview which is why she left.

After this email, Adrniral M.J. instructed NETTLETON by email to call her at 8:00
a.m. the next moming, and NETTLETON wrote back that he would.

41. At approximately 8:00 p.m. on or about January 10, 2015, Lieutenant
J.C. prepared a draft of a “Navy Blue” message to be transmitted to Navy officials
regarding the disappearance of Tur- Lieutenant J.C. sent an email With an attached

draft of the Navy Blue to NETTLETON and XO A.R. for their review and approval

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The draft of the Navy Blue provided information about Tur, his disappearance and
the search for him. In a category marked, “LOCATION OF INCIDENT,” the answer
provided was “BAYVIEW COMPLEX.” As part of the summary of the event, the
notice stated, “VlCTll\/l LAST SEEN LEAVING BAYVIEW COMPLEX AT 0030
EST.”

42. At approximately 9:10 p.m. on or about January 10, 2015,
NETTLETON thanked Lieutenant J.C. for drafting and disseminating the notice, but
misled XO A.R. and Lieutenant J.C. by failing to correct the false information in it.

43. hit no point on or about January 10, 2015 did NETTLETON inform
Admiral M.J. or any of his superior officers or subordinates that on or about January
9, 2015, Tur had accused NETTLETON outside of the Bayview of having an
extramarital affair with Tur’s Spouse, that Tur had later come to NETTLETON’s
residence after the party, that Tur and NETTLETON had engaged in a physical
altercation that left T ur injured, and that NETTLETON knew the last place Tur had
been seen by anyone was NETTLETON’s residence

Simday, Janua_r_y 11,l 2015

44. On or about the morning of Sunday, January ll, 2015 , XO A.R. spoke
with NETTLETON to seek permission to request that the U.S. Coast Guard use a
helicopter from one of its vessels docked at GTMO to assist in the search for Tur.
NETTLETON refused to permit XO A.R. to make the request

45. At approximately 8:00 a.m. on or about January ll, 2015,

NETTLETON spoke with Admiral M.J. by telephone in XO A.R.’s presence

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NETTLETON provided Admiral M.J. with information about the search for Tur.
During the call, XO A.R. prompted NETTLETON to tell Admiral M.J. about what
had happened at the Bayview between NETTLETON and Tur on or about January 9,
2015, but NETTLETON did not. After the call ended, XO A.R. asked NETTLETON
why he had not told Admiral M.J. about the events at the Bayview on January 9, and
NETTLETON replied that Admiral M.J. “did not need to know” those facts

46. XO A.R., having previously been told by K.W. about the telephone ca11
from Tur on or about January 9, 2015 in which Tur indicated he was at
NETTLETON’s residence, asked NETTLETON if Tur had in fact come to
NETTLETON’s house that night. NETTLETON falsely stated that Tur had not.

Tur’ s Body Located

47. At approximately 9:00 a.m. on or about January ll, 2015, Navy
personnel and others began searching for Tur again. At approximately 11:00 a.m., a
U.S. Coast Guard vessel located Tur’s body in the waters of Guantanamo Bay drifting
westward and nearing the territorial water border with Cuba.

48. At approximately 1:00 p.m. on or about January 11, 2015, persons who
were still searching for Tur, unaware that his body had been located, discovered a
paper towel, with a reddish-brown stain on it, near the base of the pier in
NETTLETON’s backyard. Later that day, personnel from CID and NCIS arrived at
NETTLETON’s pier to recover the paper towel. NETTLETON was nearby when

one of the Navy personnel recovering the item stated that it appeared to have blood

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on it. NETTLETON responded, “That’s probably nothing.” DNA testing later
confirmed that the stain on the paper towel Was a match for Tur’s DNA.

49. On or about January 11, 2015, NETTLETON spoke with Captain C.G.
and informed him that Tur’s body had been discovered Captain C.G. instructed
NETTLETON to provide any information that he had gathered up until that point to
NCIS because Tur’s death made the investigation a potential criminal matter that
NCIS would be investigating During this conversation, NETTLETON again misled
Captain C.G. by continuing to conceal from him information about NETTLETON’s
interactions with Tur at the Bayview and at NETTLETON’s residence on or about
January 9, 2015, including that NETTLETON had been in a physical altercation with
Tur in which Tur was injured

50. At approximately 4:30 p.m. on or about January ll, 2015 ,
NETTLETON spoke with Admiral M.J. about the recovery of Tur’s body.
NETTLETON informed her that Tur’s body had indications of possible “marine
bites,” but no other apparent injuries During this conversation, NETTLETON again
misled Admiral M.J. by continuing to conceal information from her about
NETTLETON’s interactions with Tur at the Bayview and at NETTLETON’$
residence on or about January 9, 2015 , including that NETTLETON had been in a

physical altercation with Tur in which T ur was injured

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Mondav, Januarv 12. 2015 and Thereafter

51. On or about January 12, 2015, NETTLETON told XO A.R. that Tur
had come to NETTLETON’s residence on or about January 9, 2015, contrary to what
NETTLETON told XO A.R. on or about January lO, 2015, but that NETTLETON
had not allowed Tur inside the house. NETTLETON misled XO A.R. by concealing
from him that NETTLETON had been in a physical altercation with Tur inside
NETTLETON’s residence and that Tur had been injured during the altercation

52. On or about January 12, 2015, the Navy Inspector General’s Offtce
informed Admiral l\/l.J. and Captain C.G. of an anonymous complaint alleging that
NETTLETON and Tur’s Spouse had an extramarital affair and were engaging in
physical contact at the Bayview during the Hail and Farewell party on or about
January 9, 2015.

53. On or about January 12, 2015 or January 13, 2015 , NETTLETON spoke
with Captain C.G. and stated that he wanted to address “crazy rumors” he had heard
about NETTLETON having an affair with Tur’s Spouse. NETTLETON stated to
Captain C.G. that “there’s absolutely no truth to this rumor. l was not having an
affair. None of this is going on.” NETTLETON’s denial of an extrarnarital affair with
Tur’s Spouse was false because NETTLETON knew that he and Tur’s Spouse had
engaged in an extramarital affair in or about 2014. NETTLETON also misled Captain
C.G. by continuing to conceal from him that on or about January 9, 2015, Tur had
come to NETTLETON’s home after the party at the Bayview, that Tur and

NETTLETON had engaged in a physical altercation that left Tur injured and that

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NETTLETON knew the last place Tur had been seen by anyone was NETTLETON’s
residence

54. On or about January 13, 2015, NETTLETON told Admiral M.J. for the
first time that Tur had gone missing on or about January 9, 2015 after attending a
command event earlier in the evening, the Hail and Farewell party at the Bayview for
the incoming and outgoing XOS, at which NETTLETON had been present
NETTLETON also said that there was a lot of drinking at this event and there had
been an argument between Tur and Tur’s Spouse inside the event and also in the
parking lot. NETTLETON also told Admiral M.J. for the first time that after he left
the Bayview and returned to his residence alone, Tur came there and they engaged in
a verbal argument, with Tur accusing NETTLETON of having an extramarital affair
with Tur’s Spouse. NETTLETON reported to Admiral M.J. that Tur left his residence
and went back to the Bayview. NETTLETON assured Admiral M.J. that the
allegations Tur made against him were untrue and falsely stated that NETTLETON
did not have an extramarital relationship with Tur’s Spouse. NETTLETON also
misled Admiral M.J. by concealing from her that there was a physical altercation
between NETTLETON and Tur at NETTLETON’s house on or about January 9,
2015 and that Tur was injured in that altercation After hearing the new information
NETTLETON provided, Admiral M.J. instructed NETTLETON to provide this
information to NClS. NETTLETON did not provide this information to NCIS.

55. On or about January 13, 2015, an autopsy was conducted on Tur’s body

by a military medical examiner. The autopsy revealed, among other things, that Tur

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drowned, but he also had ribs that were fractured with associated soft tissue damage,
and that these rib injuries occurred before he died The autopsy also found that Tur
had a laceration on his head

56. On or about January 14, 2015 or January 15 , 2015, NETTLETON told
Captain C.G. that during a party at the Officer’s Club on or about January 9, 2015, he
got into an altercation with Tur over accusations that NETTLETON was having an
extramarital affair with Tur’s Spouse and there may have been some pushing and
shoving. NETTLETON said the argument settled down and everyone went their own
way, but later that evening Tur showed up at his residence and again accused him of
having an affair with Tur’s Spouse, NETTLETON said that he denied the affair to
Tur and that Tur’s concerns were “tamped back down ” NETTLETON said they had
these discussions at the front door of NETTLETON’s house, and Tur wanted to come
in, but NETTLETON would not allow Tur to do so because NETTLETON’s
daughter was in the house. NETTLETON said Tur eventually left. NETTLETON
explained to Captain C.G. that he did not inform him of these events earlier because,
“l just didn’t think it was particularly relevant” or “warranted being mention[ed].”
NETTLETON misled Captain C.G. by concealing from him that a physical
altercation had occurred with Tur inside NETTLETON’s house and that Tur had been
injured in the altercation

57. Tur’s Spouse was interviewed by NCIS on or about January 16, 2015 .
During that interview, she was asked whether she had an extramarital affair with

NETTLETON, and she denied they had such an affair After the interview, Tur’s

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Spouse spoke with NETTLETON about the questions asked by NCIS. Tur’s Spouse
informed NETTLETON of what she told NCIS and NETTLETON responded
“good.” Tur’s Spouse told NETTLETON she thought her relationship with
NETTLETON was “none of their business,” and NETTLETON agreed

58. Beginning on or about January 20, 2015, NClS conducted several
searches of NETTLETON’$ home at GTMO and the surrounding property. NCIS
discovered suspected bloodstains inside the first floor of NETTLETON’s horne during
these searches Samples of these bloodstains were taken by investigators and sent to a
laboratory for forensic testing Several of the suspected bloodstain samples were later
determined through laboratory testing and analysis to contain blood that matched
Tur’s DNA.

59. From on or about January, 21, 2015, when he left GTMO, to in or about
November 2016, NETTLETON spoke with Tur’s Spouse several times During these
conversations, NETTLETON expressed concerns to Tur’s Spouse about the ongoing
investigation by NClS, including expressing concerns that the extrarnarital affair
between NETTLETON and Tur’s Spouse could lead to a court martial proceeding
against NETTLEON. NETTLETON informed Tur’s Spouse that if neither of them
admitted they had an extramarital affair to NCIS, then he could not be found guilty of
the offense of adultery in a court martial proceeding Tur’s Spouse also said that in
the event there was a court martial proceeding, she would refuse to appear and provide

testimony, which NETTLETON said was “ good to hear.”

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MNE
(OBSTRUCTION OF JUSTICE)

60. Paragraphs l to 59 are incorporated here by reference

61. From on or about January 10, 2015 through the date of this Indictment,
in the l\/liddle District of Florida, Naval Station Guantanamo Bay, and elsewhere, the
defendant,

JOI-]N R. NETTLETON,

did knowingly engage in misleading behavior towards another person with the intent
to hinder, delay, and prevent the communication to law enforcement officers, that is,
agents of the Navy Criminal lnvestigative Service and members of the Naval Station
Guantanamo Bay’s Security Department, information relating to the commission and
possible commission of a federal offense, and attempted to do so by, among other
things:

a. Making false and misleading statements to Navy personnel
searching for Tur and investigating his disappearance and death, such as CDO
A.T., that Tur was last seen at the Officer’s Club/Bayview on or about January
9, 2015;

b. Making false and misleading statements to Navy personnel, such
as XO A.R., that Tur had not come to NETTLETON’s residence on or about
January 9, 2015 after the Hail and Farewell party at the Officer’s
Club / Bayview;

c. Making false and misleading statements to Navy personnel, such
as XO A.R., that when Tur came to NETTLETON’$ residence after the Hail
and Farewell party on or about January 9, 2015, Tur did not come inside the
residence;

d Concealing from Navy personnel that on or about January 9,

2015, T ur came to NETTLETON’s residence after the Hail and Farewell party
at the Officer’s Club/Bayview, NETTLETON and Tur engaged in a physical

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altercation inside NETTLETON’s residence, and that altercation resulted in
Tur being injured;

e. Refusing the request by Navy personnel to use a U.S. Coast Guard
helicopter in the search for Tur;

f. Knowingly permitting a Navy Blue communication providing
false information about the last known location of Tur on or about January 9,
2015 to be sent to the Navy on or about January 10, 2015;

g. l\/laking false and misleading statements to his superior officers,
Captain C.G. and Admiral M.J., orally and in written emails on or about
January 10, 2015, Llanuary ll, 2015, and January 12, 2015 that the last place
Tur was seen was the Officers Club/Bayview on or about January 9, 2015 ;

h. Concealing from his superior officers, Captain C.G. and Admiral
M.J., on or about January 10, 2015 and January ll, 2015 that Tur had gone
missing on or about January 9, 2015 after attending a command event earlier in
the evening, the Hail and Farewell party at the Officer’s Club/Bayview for the
incoming and outgoing XOS, at which NETTLETON had been present, that
NETTLETON and others at the party had been intoxicated and that Tur had
accused NETTLETON of having an extramarital affair with Tur’s spouse in
front of the Officer’s Club/Bayview after the party;

i. Concealing from his superior officers, Captain C.G. and Adrniral
M.J., on or about January 101 2015, January ll, 2015, and January 12, 2015
that Tur came to NETTLETON’s residence on or about January 9, 2015 after
the Hail and Farewell party at the Officer’s Club/Bayview;

j. Concealing from his superior officers, Captain C.G. and Admiral
M.J., that on or about January 9, 2015, NETTLETON and Tur engaged in a
physical altercation inside NETTLETON’s residence and that altercation
resulted in Tur being injured;

k. Falsely stating to his superior officers, Captain C.G. and Admiral
M.J., that he had not engaged in an extramarital affair with Tur’s Spouse; and

l. Encouraging Tur’s Spouse to conceal from Navy investigators that
she and NETTLETON had engaged in an extramarital affair

All in violation of Title 18, United States Code, Sections 1512(b)(3), and 2.

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EKQLEIIIIXYLQ
(OBSTRUCTION OF JUSTICE)

62. Paragraphs 1 to 59 are incorporated here by reference.

63. From on or about January 10, 2015 through the date of this lndictment,
in the l\/liddle District of Florida, Naval Station Guantanamo Bay, and elsewhere, the
defendant,

JOHN R. NETTLETON,
did corruptly obstruct, influence, and impede official proceedings, that is, the
Department of the Navy investigation into the circumstances surrounding the
disappearance, injury, and death of Tur, a Department of the Navy court martial, and
a Federal grand jury proceeding, and attempted to do so by, among other things:

a. Making false and misleading statements to Navy personnel
searching for Tur and investigating his disappearance and death, such as CDO
A.T., that Tur was last seen at the Officer’s Club/Bayview on or about January
9, 2015 ;

b. Making false and misleading statements to Navy personnel, such
as XO A.R., that Tur had not come to NETTLETON’$ residence on or about
January 9, 2015 after the Hail and Farewell party at the Officer’s
Club/Bayview;

c. Making false and misleading statements to Navy personnel, such
as XO A.R., that when Tur came to NETTLETON’s residence after the Hail
and Farewell party on or about January 9, 2015, Tur did not come inside the
residence;

d Concealing from Navy personnel that on or about January 9,
2015, Tur came to NETTLETON’s residence after the Hail and Farewell party
at the Officer’s Club/Bayview, NETTLETON and T ur engaged in a physical
altercation inside NETTLETON’s residence, and that altercation resulted in
Tur being injured;

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e. Refusing the request by Navy personnel to use a U.S. Coast Guard
helicopter in the search for Tur;

f. Knowingly permitting a Navy Blue communication providing
false information about the last known location of Tur on or about January 9,
2015 to be sent to the Navy on or about January 10, 2015;

g. l\/laking false and misleading statements to his superior officers,
Captain C.G. and Admiral M.J., orally and in written emails on or about
January 10, 2015, January ll, 2015, and January 12, 2015 that the last place
Tur was seen was the Officer’s Club/Bayview on or about January 9, 2015;

h. Concealing from his superior officers, Captain C.G. and Admiral
M.J., on or about January 10, 2015 and January ll, 2015 that Tur had gone
missing on or about January 9, 2015 after attending a command event earlier in
the evening, the Hail and Farewell party at the Officer’s Club/Bayview for the
incoming and outgoing XOs, at which NETTLETON had been present, that
NETTLETON and others at the party had been intoxicated and that Tur had
accused NETTLETON of having an extramarital affair with Tur’s spouse in
front of the Officer’s Club/Bayview after the party;

i. Concealing from his superior officers, Captain C.G. and Admiral
l\/l.J., on or about January 10, 2015, January 11,2015, and January 12, 2015
that Tur came to NETTLETON’s residence on or about January 9, 2015 after
the Hail and Farewell party at the Officer’s Club/Bayview;

j. Concealing from his superior officers, Captain C.G. and Admiral
M.J., that on or about January 9, 2015, NETTLETON and Tur engaged in a
physical altercation inside NETTLETON’s residence and that altercation
resulted in Tur being injured;

k. Falsely stating to his superior officers, Captain C.G. and Admiral
M.J., that he had not engaged in an extramarital affair with Tur’s Spouse; and

l. Encouraging Tur’s Spouse to conceal from Navy investigators that
she and NETTLETON had engaged in an extramarital affair.

All in violation of Title 18, United States Code, Sections 1512(c)(2), and 2.

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COUNT THREE
(CONCEALl\/[EN'I` OF MA'I`ERIAL FACTS)

64. Paragraphs l to 59 are incorporated here by reference

65 . On or about LTanuary 10, 2015 through the date of this Indictment, in the
Middle District of Florida, Naval Station Guantanamo Bay, and elsewhere, in a matter
within the jurisdiction of the executive branch of the Government of the United States,
and in connection with the investigation being conducted by the Navy into the
circumstances surrounding Tur’s disappearance, injury, and death, the defendant,

JOHN R. NETTLETON,

did knowingly and willfully falsify, conceal, or cover up by trick, scheme, and device,
a material fact, that is, during the investigation being conducted by the Navy,
defendant NETTLETON intended to falsify and conceal the facts he knew about the
circumstances surrounding the disappearance, injury, and death of Tur by, among
other things:

a. Making false and misleading statements to Navy personnel
searching for Tur and investigating his disappearance and death, such as CDO
A.T., that Tur was last seen at the Officer’s Club/Bayview on or about January
9, 2015;

b. Making false and misleading statements to Navy personnel, such
as XO A.R., that Tur had not come to NETTLETON’s residence on or about
January 9, 2015 after the Hail and Farewell party at the Officer’s
Club/Bayview;

c. Making false and misleading statements to Navy personnel, such
as XO A.R., that when Tur came to NETTLETON’s residence after the Hail
and Farewell party on or about January 9, 2015 , Tur did not come inside the
residence;

d. Concealing from Navy personnel that on or about January 9,
2015, Tur came to NETTLETON’s residence after the Hail and Farewell party

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at the Offrcer’s Club/Bayview, NETTLETON and Tur engaged in a physical
altercation inside NETTLETON’s residence, and that altercation resulted in
Tur being injured;

e. Knowingly permitting a Navy Blue communication providing
false information about the last known location of Tur on or about January 9,
2015 to be sent to the Navy on or about January 10, 2015 ;

f. Making false and misleading statements to his superior officers,
Captain C.G. and Admiral M.J'., orally and in written emails on or about
January 10, 2015, January ll, 2015, and January 12, 2015 that the last place
Tur was seen was the Officers Club/Bayview on or about January 9, 2015;

g. Concealing from his superior officers, Captain C.G. and Admiral
M.J., on or about January 10, 2015 and January 11, 2015 that Tur had gone
missing on or about January 9, 2015 after attending a command event earlier in
the evening, the Hail and Farewell party at the Officer’s Club/Bayview for the
incoming and outgoing XOs, at which NETTLETON had been present, that
NETTLETON and others at the party had been intoxicated, and that Tur had
accused NETTLETON of having an extramarital affair with Tur’s spouse in
front of the Officer’s Club/Bayview after the party;

h. Concealing from his superior officers, Captain C.G. and Admiral
M..l., on or about January 10, 2015, January 11,2015, and January 12, 2015
that Tur came to NETTLETON’s residence on or about January 9, 2015 after
the Hail and Farewell party at the Officer’s Club/Bayview; and

i. Concealing from his superior officers, Captain C.G. and Admiral
M.J., that on or about January 9, 2015 , NETTLETON and Tur engaged in a
physical altercation inside NETTLETON’s residence and that altercation
resulted in Tur being injured

All in violation of Title 13, United States Code, Sections 1001(a)(1), and 2.

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COUNT FOUR
(FALSIFICATION OF RECORDS)

66. Paragraphs l to 59 are incorporated here by reference
67. On or about January 10, 2015, in the Middle District of Florida, Naval
Station Guantanamo Bay, and elsewhere, the defendant,
JOI-IN R. NETTLETON,
knowingly concealed, covered up, falsified and made false entries in records and
documents, that is a Navy Blue communication sent to Navy officials, with the intent
to impede, obstruct, and influence the investigation and proper administration of the
Department of the Navy investigation into the circumstances surrounding the
disappearance injury, and death of Tur, a matter within the jurisdiction of the

Department of the Navy, a department and agency of the United States.

All in violation of Title 18, United States Code, Sections 1519, and 2.

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COUNT FIVE
(FALS]I*`ICATION OF RECOR.DS)

68. Paragraphs l to 59 are incorporated here by reference
69. On or about January 10, 2015, in the Middle District of Fiorida, Naval
Station Guantanaino Bay, and elsewhere the defendant,
JOHN R. NETTLETON,
knowingly concealed covered up, falsified and made false entries in records and
documents, that is emails to his superior officers, Admiral M.J. and Captain C.G.,
with the intent to impede, obstruct, and influence the investigation and proper
administration of the Department of the Navy investigation into the circumstances
surrounding the disappearance injury, and death of Tur, a matter within the
jurisdiction of the Department of the Navy, a department and agency of the United

States.

All in violation of Title lS, United States Code, Sections 1519, and 2.

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COUNT SIX
(FALSE STATEMENT)

70. Paragraphs l to 59 are incorporated here by reference

71. On or about January 10, 2015 , at Naval Station Guantanamo Bay, the
defendant,

JOI-IN R. NETTLETON,

willfully and knowingly made a materially false, fictitious, and fraudulent statement
and representation in a matter within the jurisdiction of the Executive Branch of the
Government of the United States, by stating to CDO A.T. that Tur was last seen on
or about January 9, 2015 at the Officers Club/Bayview. The statement and
representation was false because, as NETTLETON knew, Tur had come to
NETTLETON’s home on or about January 9, 2015 and was not seen at the Officer’s

Club/Bayview afterwards

All in violation of Title 18, United States Code, Section 1001(a)(2).

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COUNT SEVEN
(FALSE STATEl\/LENT)

72. Paragraphs l to 59 are incorporated here by reference

73. On or about January 10, 2015, at Naval Station Guantanamo Bay, the
defendant,

JOHN R. NETTLETON,

willfully and knowingly made a materially false, fictitious, and fraudulent statement
and representation in a matter within the jurisdiction of the Executive Branch of the
Government of the United States, by stating in an email to Admiral M.J. and Captain
C.G. that that Tur was last seen on or about January 9, 2015 at the Officer’s
Club/Bayview. The statement and representation was false because, as
NETTLETON knew, Tur had come to NETTLETON’s home on or about January 9,

2015 and was not seen at the Officer’s Club/Bayview afterwards

All in violation of Title 18, United States Code, Section 1001(a)(2).

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COUNT EIGHT
(FALSE STATEMENT)

74. Paragraphs l to 59 are incorporated here by reference

75. On or about January ll, 2015, at Naval Station Guantanamo Bay, the
defendant,

JOHN R. NETTLETON,

willfully and knowingly made a materially false, fictitious, and fraudulent statement
and representation in a matter within the jurisdiction of the Executive Branch of the
Government of the United States, by stating to XO A.R. that Tur not come to
NETTLETON’s residence on or about January 9, 2015 after the Hail and Farewell
party at the Officer’s Club/Bayview. The statement and representation was false
because as NETTLETON knew, Tur had come to NETTLETON’s home on or about

Llanuary 9, 2015.

All in violation of Title 18, United States Code, Section 1001(a)(2).

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COUNT NNE
(FALSE STATEMENT)

76. Paragraphs l to 59 are incorporated here by reference

77. On or about January 12, 2015, at Naval Station Guantanamo Bay, the
defendant,

JOHN R. NETTLETON,

willfully and knowingly made a materially false fictitious, and fraudulent statement
and representation in a matter within the jurisdiction of the Executive Branch of the
Government of the United States, by stating to XO A.R. that Tur had come to
NETTLETON’$ residence on or about January 9, 2015 , but that he had not come
inside The statement and representation was false because as NETTLETON knew,
Tur had entered NETTLETON’s horne on or about January 9, 20l5, where
NETTLETON and Tur engaged in a physical altercation

All in violation of Title 18, United States Code, Section 1001(a)(2).

MN_T__'LE§
(FALSE STATEMENT)

78. Paragraphs 1 to 59 are incorporated here by reference
79. On or about January 13, 2015, at Naval Station Guantanamo Bay and
in the l\/liddle District of Florida , the defendant,
JOHN R. NETTLETON,
willfully and knowingly made a materially false fictitious, and fraudulent statement

and representation in a matter within the jurisdiction of the Executive Branch of the

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Government of the United States, by stating to Admiral M.J. and Captain C.G. that
NETTLETON and Tur’S Spouse were not having an affair. The statements and

representations were false because as NETTLETON knew, he and Tur’s Spouse had

engaged in an extrarnarital affair

All in violation of Title 18, United States Code Section 1001(a)(2).

A TRUE BlLl_,,

F§eperson
ANNALOU TIROL

Acting Chief, Public lntegrity Section
`mina ivi ` U.S. Department of Justice

  
 

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PE ER NOTHSTEIN
'l`rial Attorney, Public lntegrity Section

roDD GEE /
Deputy Chief, Public lntegrity Section

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APR 1991 No.

 

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

THE UNITED STATES OF AMERICA
vs.

JOHN R. NETTLETON

 

]NDICTMENT
Violations:
Ct. 1: 18 U.S.C. §§ 1512(b)(3) and 2
Ct. 21 18 U.S.C. §§ 1512(c)(2) and 2
Ct. 3: 18 U.S.C. §§ lOOl(a)(l) and 2
Ct. 4-5 18 U.S.C. §§ 1519 and 2

ct 6-10: is U.s.c. § 1001(&)(2)

 

 

A true bill,

Foreperson

 

Filed in open court this M day

of January, 2019.

j Clerk

Bail $

 

 

 

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